                                         U.S. DISTRICT
           Case 3:19-cv-01189-BKS-ML Document      1 COURT
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                                                          FILED
 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK
                                                            SE~ 2 5 2019

                    JoHflJ Do£                       AT ~ O'CLOCK.- __
                                                     Johnf [)om[Jlad. Cltrk S-1r,i£!:1;   '
                                   Plaintiff(s)            ,                       ~•1'1      Case No.:   '3'. \C\-cv- 112:.°I ( Bks/ 1v11..'
                                                           )
                   vs.                                     )                       CIVIL COMPLAINT
                                                           )                       PURSUANT TO
                                                           )                       TITLE VII OF THE
                              Defendant(s)                 )                       CIVIL RIGHTS ACT,
     Cornell University,William Carpenter, et al.                                  AS AMENDED



      I   Plaintiff(s) demand(s) a trial by:   N_ JURY         fi COURT                       (Select fil!!y one).   1




                                               JURISDICTION

1.         Jurisdiction is conferred on this court pursuant to 42 U.S.C. § 2000e-5.


                                                  PARTIES

2.         Plaintiff: John Doe
                     - -- - - - - - - - - - - - - - - - - - - - -
           Address: 757 Warren Rd., Unit#4554, Ithaca, NY-14852




          Additional Plaintiffs may be added on a separate sheet of paper.


3.        a.      Defendant:                      Cornell University

                  Official Position:

                  Address:         300 Day Hall, Cornell University, Ithaca, NY-14853

                                   Telephone: 607-255-5201
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      b.     Defendant:                      Lance R Collins

             Official Position:            Dean of Engineering

             Address:        Rm#242, Carpenter Hall, Cornell University, Ithaca

                             NY-14853

                             Telephone: 607-255-9679


4.   This action is brought pursuant to:

     _0_ Title VII of the Civil Rights Act of 1964, as amended, codified at 42 U.S.C.
            § 2000e et seq., and the Civil Rights Act of 1991, for employment discrimination
            based on race, color, religion, sex or national origin.

     l l Pregnancy Discrimination Act of 1978, codified at 42 U.S.C. § 2000e(k), as
            amended, Civil Rights Act of 1964, and the Civil Rights Act of 1991, for
            employment discrimination based on pregnancy.

5.   Venue is invoked pursuant to 28 U.S.C. s 1391.

6.   Defendant's conduct is discriminatory with respect to the following (check all that apply):

            (A)      [Z]   My race or color.
                    lZf
                   H
            (B)            My religion.
            (C)     JZ[_   My sex (or sexual harassment).
            (D)            My national origin.
            (E)            My pregnancy.
            (F)            Other: Disability, veteran status, and ethnicity

7.   The conduct complained of in this action involves:




                   R
            (A)            Failure to employ.
            (B)            Termination of employment.
            (C)            Failure to promote.
            (D)            Unequal terms and conditions of employment.
            (E)
            (F)
            (G)    i       Reduction in wages.
                           Retaliation.
                           Other acts as specified below:
                            Harassment, threatening, menacing, stalking,

                           Privacy violation, due process, and conspiracy
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 8.                                           FACTS

        Set forth the facts of your case which substantiate your claims. List the events in the
order they happened, naming defendants involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH and EVERY
       defendant in your complaint. (You may use additional sheets as necessary).
 See attached




9.                                   CAUSES OF ACTION

Note: You must clearly state each cause of action you assert in this lawsuit.


                                 FffiST CAUSE OF ACTION
Illegal discrimination in employment, education, and housing based upon my gender

race, color, religion, sex, national origin, disability, veteran status, and ethnicity.
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                               SECOND CAUSE OF ACTION
 Retaliation for exercising my Constitutional rights.




                               THIRD CAUSE OF ACTION
 Failure to provide a due process.




10.    I filed charges with the New York State Division on Human Rights, the New York City
       Commission on Human Rights or Equal Employment Opportunity Commission regarding
       the alleged discriminatory acts on or about:

                                                        06/26/2019
                                                  (Provide Date)

11.   The Equal Employment Opportunity Commission issued a Notice-of-Right-to-Sue letter
      (copy attached) which was received by me on or about:

                                                        06/27/2019
                                                  (Provide Date)

12.   The plaintiff is an employee within the meaning of 42 U.S.C. § 2000e(f).

13.   The defendant(s) is (are) an employer, employment agency, or labor organization within
      the meaning of 42 U.S.C. § 2000e(b), (c), or (d).

14.   The defendant(s) is (are) engaged in commerce within the meaning of 42 U.S.C.
      § 2000e(g).
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15.       PRAYER FOR RELIEF

          WHEREFORE, plaintiff(s) request(s) that this Court grant the foUowing relief:
 Compensatory and punitive damages as determined by the Jury and the court, and

cost and disbursement.

Re-instate my student status, and student-employment status back.




      I declare under penalty of perjury that the foregoing is true and correct.

DATED: - - 09/23/2019
            -----
                                                             JoHN OoE


                                                     Signature of Plaintiff(s)
                                                     (all Plaintiffs must sign)




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UNITED STATES DISTRICT COURT
                                                                    I
                                                                    AT
                                                                           SEP 25 2019
                                                                               O'CLOCK_ __
                                                                                                  I
NORTHERN DISTRICT OF NEW YORK                                       Jo~murad. Clerk - Syracuse

                    :Jol-\N    !)oE                      )
                                 Plaintiff(s)            )
                                                         )
                                                                 Civil Case No.: 3·.        \°'~ Cv- \\K°i (~~/ML)
                  vs.                                    )       COMPLAINT PURSUANT
                                                         )       TO THE AMERICANS
                                                         )       WITH DISABILITIES ACT
                                  Defendant(s)           )
        Cornell University.William Carpenter, et al.


        I Plaintiff(s) demand(s) a trial by: Jg]_ JURY Il COURT                     (Select mtly one).   I
          Plaintiff(s) in the above-captioned action, allege(s) as folJows:

                                            JURISDICTION

1.        This is a civil action seeking judgment, relief and/or damages brought pursuant to the
          Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., as amended, for
          discrimination based upon a disability and the failure to accommodate same. This Court
          has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and 1343(4).

                                                PARTIES

2. a.     Plaintiff: John Doe
                    -----------------------
          Address: 757 Warren Rd., Unit#4554, Ithaca, NY-14852




     b. Plaintiff: N/A
                    ------------------------
         Address: N/A
                    ------------------------



         Additional Plaintiffs may be added on a separate sheet of paper.
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                                           Cornell University
 3.   a.      Defendant:

              Official Position:
                              300 Day Hall, Cornell University, Ithaca, NY-14853
              Address:
                              Telephone: 607-255-5201




                                           Lance R Collins
      b.      Defendant:
                                         Dean of Engineering
              Official Position:
                              Rm#242, Carpenter Hall, Cornell University, Ithaca
              Address:
                              NY-14853

                              Telephone: 607-255-9679



      Additional Defendants may be added on a separate sheet of paper.


4.    My disability is as follows:
              I have physical and mental disability.

              Post Traumatic Stress Disorder, anxiety, depression, PPD, et al.

              Mobility issues, Back and neck injury

             See attached
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 5.     The conduct complained of in this action involves:
        (Check all that apply)

               (A)    n       Failure to employ.

               (B)    _0_     Termination of employment.

               (C)    n       Denial of participation in public service or program.

               (D)    _0_ Failure to make alterations to accommodate disability.
               (E)    JlL Retaliation.
               (F)    JZL Other acts as specified below:
                              Wrongful/frivolous termination of student statua
                              Harassment, threatenings, conspiracy, so forth




6.                                           FACTS

        On the following page, set forth the facts of your case which substantiate your claim of
discrimination. List the events in the order they happened, naming defendants involved, dates and
places.

       Note: Each fact should be stated in a separate paragraph; paragraphs should be
              numbered sequentially.

             You must include allegations of wrongful conduct as to EACH and EVERY
             defendant in your complaint.

                     You may use additional sheets as necessary.
See additional sheets attached.
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7.    PRAYER FOR RELIEF

      WHEREFORE, plaintiff(s) request(s) that this Court grant the following relief:
Compensatory and punitive damages as determined by the Jury and the court, and

cost and disbursement.

Re-instate my student status, and student-employment status back.




     I declare under penalty of perjury that the foregoing is true and correct.

DATED: - -09/23/2019
           - -- - -




                                                    Signature of Plaintiff(s)
                                                    (all Plaintiffs must sign)
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3.c. Defendant: William Carpenter
   Official Position: Officer
   Address: 117 Statler drive, G2 Barton Hall, Ithaca, NY, 14853
   Telephone: 607-216-1199


3.d. Defendant: Luke Zachary Fenchel
   Official Position: NIA
   Address: 200 E Buffalo St#102b, Ithaca, NY-14850
   Telephone: 646-325-56161607-323-13931607-319-4998


3.e. Defendant: David Forbes Delchamps
   Official Position: Associate Professor
   Address: 410 Mitchell St., Ithaca, NY-14850
   Telephone: 607-272-64231607-255-6447


3.f. Defendant: College of Engineering
   Official Position: NIA
   Address: Carpenter Hall, 313 Campus Rd., Ithaca, NY-14853
   Telephone: 607-272-64231607-255-6447


3.g. Defendant: Cornell University Police Department
   Official Position: NIA
   Address: 117 Statler drive, G2 Barton Hall, Ithaca, NY, 14853
   Telephone: 607-255-1111


3.h. Defendant: Wendy Gilmore-Fitzgerald
   Official Position: Advisor
  Address: 6 Yardley Gm, Ithaca, NY-14850-1259
  200 Computing and Communications Center (CCC), 235 Garden Avenue, Ithaca, NY-14853-
 6601
   Telephone: 607-255-3841/607-255-6384
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   #8

1. Plaintiff is a disabled Veteran, who served with the US Army Special Forces, a.k.a.

   Green Berets. Since 2014, the Plaintiff carries a diagnosis of mental and physical

    disability. Plaintiff worked with the three respected companies, i.e., General Electric

   Aviation, Intel Corporation, and United Launch Alliance(Defense Contractor)(Lockheed

   Martin Space Systems, and Boeing Defense, Space, and Security). Since early childhood,

   Plaintiff dreamt about going to Cornell University. Plaintiffs dream fulfilled, and he

   transferred to Cornell University in the Fall of 2017, enrolled and started studying

   Electrical and Computer Engineering. Electrical and Computer Engineering-College of

   Engineering was the second hardest major at Cornell University. Plaintiff was the first

   veteran that the Electrical and Computer Engineering-College of Engineering was

   experimenting with.

2. Cornell University has a substantial number of students and faculty members who carry

   both physical and mental disabilities. As a non-traditional foreign-born student, Plaintiff

   had some uphill battles, in terms of adjustment to the new environment.

3. Plaintiff did the necessary paperwork in December 2017 for employment and started

   working at the Office of Academic Diversity Initiative Office (OADI) as a Student

   Administrative-II position.

4. Plaintiff worked in the Office of Academic Diversity Initiative with another worker

   Wendy Gilmore-Fitzgerald. Ms. Gilmore-Fitzgerald is married to Liane Fitzgerald from

   the school of Engineering. Ms. Gilmore-Fitzgerald targeted Plaintiff. She made

   derogatory comments that made Plaintiff believes that she had issues with the Plaintiff

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   being a straight, single male. Subsequently, false information was provided to high

   ranking Cornell employees, i.e., Liane Fitzgerald, David Forbes Delchamps, Cornell

   University College of Engineering, and later to the Cornell University Police Department.

   Plaintiff believes that this false information was provided by Ms. Gilmore-Fitzgerald,

   William Carpenter, Liane Fitzgerald, and others at the school who are friends with Ms.

   Gilmore-Fitzgerald, David Forbes Delchamps, and William Carpenter, with the sole

   motive of having Plaintiff placed on academic leave to have Plaintiff placed on an

   academic leave. In January 2018, As a form of retaliation, Plaintiff was put on an

   Academic leave, by David Forbes Delchamps. As a result, Plaintiff was removed from

   the school because of Plaintiffs age, creed, disability, marital status, veteran status,

   race/color, sexual orientation, sex, opposed discrimination/retaliation, and national origin.

   They discriminated against because of mental disability as well.

5. In January 2018, Plaintiff was evicted from the Hasbrouck Apartments, which was a

   campus housing.

6. Since the early Spring of 2018, employees of Cornell University violated Plaintiffs

   Family Educational Rights and Privacy Act. On 29th of June, 2019, Plaintiff filed a

   formal complaint with the New York State Education Department. That claim was

   frivolously denied. Plaintiff believe that Cornell conspired with the Privacy Officer, as an

   attempt to suppress the Plaintiff to exercise his constitutional rights.

7. In the Spring of 2018, Plaintiff met Shuang Qiu a.k.a. Elaine Shuang Qiu met via dating

   application, where they had a romantic relationship. During their dating relationship,

   Plaintiff discovered that Shuang Qiu was having an intimate sexual affair with a

   Professor (Dad's age). Plaintiff brought such grievances, under Cornell's supervision via



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    student name Xitang Zhao, and Title IX bias reporting. It resulted in utter retaliation by

    Cornell University against the Plaintiff.

8. On May 17, 2018, Plaintiff was wrongfully brought to the Barton Hall by Luke Zachary

    Fenchel without Plaintiffs conscience, and knowledge. First, Plaintiff was new to the

    Ithaca, and Tompkins County; therefore, Plaintiff wasn't well aware of the surroundings.

    Also, Plaintiff was under the effect of continued distress, stress, so forth caused by

    "William Carpenter, Luke Zachary Fenchel, so forth". Therefore, Plaintiff never had a

    chance to look up the location of the address, i.e., 320 N Tioga St., Ithaca, NY. Early in

    the morning, Plaintiff was under the impression of going to 320 N Tioga St, Ithaca, NY.

    Luke Zachary Fenchel never told his personal motives. Instead, Luke Zachary Fenchel

   took the Plaintiff in his car, and a different route while eating Chobani Yogurt. When the

   Plaintiff realized that he was nearby the Cornell Campus, Plaintiff asked Luke Zachary

   Fenchel, of where Plaintiff has been taken to. It was already too late when Luke Zachary

   Fenchel took Plaintiff to the Barton Hall, and then without explaining the ramifications,

   Plaintiff was coerced, and then wrongfully served with the "Persona-Non-Grata," under

   duress. Cornell University employee name William Carpenter issued Plaintiff a frivolous

   "Persona-Non-Grata" notice that banned Plaintiff from being on any Cornell property.

   This action prohibited Plaintiff from being on Cornell property. Plaintiff believes that

   Luke Zachary Fenchel, and members of the Cornell University conspired against him, to

   financially benefit Luke Zachary Fenchel, exploit, and abuse Plaintiff from exercising his

   constitutional rights.

9. As a result, On June 29, 2018, Plaintiff received a letter from Dean Lance R Collins

   advising Plaintiff that his student status was terminated. Because Plaintiffs job as an



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    Administrative Assistant II was tied to his student status, that meant the Plaintiffs

    employment was terminated effective June 29, 2018. Plaintiff believes that the real

   person who wrote the letter to Plaintiff was David Forbes Delchamps, but signed by Dean

    Lance R Collins.

10. On or around June 29, 2018, Plaintiffs employment was terminated by the Defendant(s)

   in response to Plaintiff being removed from the school and being labeled as "persona-

   non-grata." Plaintiff believes that Defendant condoned discriminatory conduct by

   terminating Plaintiffs employment. Plaintiff believes he was terminated in retaliation

   because Plaintiff attempted to oppose discrimination several times, which Plaintiff

   reported Mr. Carpenter and Ms. Gilmore-Fitzgerald.

11. Plaintiffs position is that his student status and employment status was terminated

   because he brought concerns of harassment, retaliation, and discrimination to the

   attention of Cornell's supervision. Plaintiff had spoken to many co-workers about the

   harassment and discrimination that he experienced. The discrimination was based on

   Plaintiffs race (Southeast Asian), nationality, disability, gender, veteran status, color,

   sexual orientation (as a heterosexual), and religious beliefs (Plaintiff is a non-

   denominational Christian).

12. In the Summer and Fall of 2018, Plaintiff had some health problems and spent much of

   his time dealing with that through Veteran Affairs Medical Center, which was aggravated

   by the continuing retaliation received from the employees of Cornell University, "i.e.,

   William Carpenter, Dean Lance R. Collins, and others."

13. In the Fall of 2018, Plaintiff filed an Article 78 claim with the State of New York to

   overturn the frivolous termination of his student status. In the Fall of 2018, after Plaintiff



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   filed the Article 78 claim, he was issued an eviction notice from the College Town

   Terrace Apartments. Plaintiff believes his eviction was prompted by Cornell in retaliation

   of him bringing Article 78 claims forward. Article 78 is pending as of today, September

   23, 2019. Plaintiff also believes that Cornell has set the Ithaca Police Department and

   Tompkins County Sheriffs Department against him because he received numerous

   harassing calls from a blocked number and the Police banging on the Plaintiffs door, as

   an intent to harass the Plaintiff, and aggravate his health condition.

14. As a result of hostile retaliation from the members of Cornell University, In the middle of

   freezing winter, i.e., December 2019, Plaintiff got evicted from the College Terrace

   Town Apartment, which almost resulted in Plaintiff being on a homeless status.

15. In March 2019, Plaintiffs car was towed, and he was evicted from the Maplewood

   Apartments, which resulted in Plaintiff being on a homeless status. Plaintiff then filed a

   claim with the Department of Housing and Urban Development. That claim is pending as

   of September 23, 2019.

16. On April 6, 2019, Plaintiff sent a notice to cease and desist to Xitang Zhao who is a

   Cornell Electrical and Computer Engineering student who was being used by the Cornell

   and David Forbes Delchamps to harass, denigrate, aggravate, and subjugate Plaintiffs

   life, health, and career.

17. On May 16, 2019, Plaintiff filed a claim with the New York State Department of Human

   Rights about the Persona-Non-Grata status. That claim was frivolously denied based on

   the agency not having any "jurisdiction" over his claim. Cornell University copied the

   Plaintiffs use of the term "no Jurisdiction" in terms of wrongfully serving Plaintiff a

   frivolous Persona Non-Grata with the help of Luke Zachary Fenchel. Earlier in May,



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   2018, Plaintiff used the same term for it. Plaintiff believes that Cornell conspired with the

   Department Director at Albany, New York.

18. On June 24th, 2019, Plaintiff filed a claim with the Office of Civil Rights. The Office of

   Civil Rights claim is pending as of now. That claim was frivolously denied based on the

   agency not having any "jurisdiction" over his claim. Cornell University copied Plaintiffs

   use of term "no Jurisdiction" in terms of wrongfully serving Plaintiff a frivolous Persona

   Non Grata with the help of Luke Zachary Fenchel. Plaintiff believe that Cornell

   conspired and influenced with the employees of the Office of Civil Rights, in order to

   suppress Plaintiff to exercise his constitutional rights. That claim is pending as of now.

19. On June-July, 2019, Plaintiff filed a claim with the National Labor Relation Board. That

   claim was frivolously denied based on the agency not having any "jurisdiction" over his

   claim. Plaintiff believes that Cornell conspired and influenced the Director of the

   National Labor Relation Board. Director of National Labor Relation Board, i.e., Paul J

   Murphy graduated from Cornell University in 1980. Plaintiff believe that Cornell

   conspired with the Privacy Officer, as an attempt to suppress Plaintiff to exercise his

   constitutional rights. That claim is pending as of now.

20. On June 29 1\ 2019, Plaintiff filed a claim with the American Disability Act. American

   Disability Act claim is pending as of now.

21. On July 5, 2019, Cornell representatives Conrad Wolan and Valerie Cross Dorn filed

   libelous paperwork to stop Plaintiff from having due process on the Article 78 matter,

   which means that they are trying to stop Plaintiff from re-enrolling into Cornell and

   getting Plaintiffs student and employment status back. Wolan and Dorn also made




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   libelous statements mischaracterizing, misrepresenting, and intentionally misdirecting the

   Plaintiffs student and employment status.

22. On July 16, 2019, Plaintiff filed a formal complaint with the Community Police Board

   over their harassment towards him.

23. Plaintiff is a 28 years old, Hindu and non-denominational Christian, having a condition

   that is considered to be a disability as that term is defined by the Title VII, i.e.

   (physical/mental), Single, Veteran, Indian, South-East Asian, heterosexual, male, and

   Plaintiff has opposed discrimination. Because of this, Plaintiff have been subject to

   unlawful discriminatory actions. Plaintiff worked for the Respondent as a Student-

   Employee since January 2018. The defendant (s) was also aware of Plaintiffs disabilities

   at all times and that he was a veteran.

24. Based on the foregoing, Plaintiff charge respondent with an unlawful discriminatory

   practice relating to employment because of age, creed, disability, marital status, veteran

   status, race/color, sexual orientation, sex, opposed discrimination/retaliation/harassment,

   national origin, in violation of the Title VII, Title IX, Title II, and any applicable

   statutory Federal laws.




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